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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                            MIDLAND/ODESSA DIVISION


MARILYN CASTILLO, AND                                 §
MELANIE MELENDEZ,                                     §
    Plaintiffs,                                       §                   MO:23-CV-00168-DC
                                                      §
v.                                                    §
                                                      §
HANDS OF COMPASSION HOME                              §
CARE, LLC, DEACONESS                                  §
HEALTHCARE HOLDINGS, INC.,                            §
KAREN VAHLBERG,                                       §
LIFESPRING HOME CARE AND                              §
HOSPICE, LLC,                                         §
     Defendants.                                      §

                                                ORDER

        Defendant Hands of Compassion Home Care, LLC is a home healthcare provider,

providing in-home medical care for patients in several counties surrounding the

Midland/Odessa area. Plaintiffs Marilyn Castill and Melanie Melendez worked for Hands of

Compassion as registered nurses.1 And during their employment, Plaintiffs believe they were

not paid overtime wages for hours worked over 40 hours per week as required by law. Thus,

in October 2023, Plaintiffs sued Hands of Compassion, Deaconess Healthcare Holdings,

Inc, LifeSpring Home Care and Hospice, LLC, and Karen Vahlberg for unpaid overtime

wages under the Fair Labor Standards Act.

        Hands of Compassion, a Texas LLC, answered Plaintiffs’ Amended Complaint,

having no qualms with jurisdiction. But Deaconess, an Ohio corporation, LifeSpring, an

Oklahoma LLC, and Vahlberg, an Oklahoma resident who is also the CEO of Hands of



1 Plaintiff Melendez is still employed with Hands of Compassion, while Plaintiff Castillo is not, working for

the company until August 2023.
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Compassion and LifeSpring, (“Defendants”) have moved to dismiss Plaintiffs’ case against

them, arguing that this Court lacks personal jurisdiction over them, and that Plaintiffs have

failed to state a plausible claim for relief. After revieing Defendants’ motion to dismiss, the

corresponding briefing, and the entire record, the Court will grant Defendants’ motion.

                                              LEGAL STANDARD

I.       Motion to dismiss for lack of personal jurisdiction.

         Federal Rule of Civil Procedure 12(b)(2) permits a court to dismiss claims against a

defendant who is not subject to the court’s personal jurisdiction. Under 28 U.S.C. § 1332(a),

a federal court may exercise jurisdiction over a nonresident defendant if (1) the long-arm

statute of the forum state confers personal jurisdiction over the defendant, and (2) the

exercise of personal jurisdiction conforms with the due process guarantees of the United

States Constitution.2 Because the Texas long-arm statute extends jurisdiction “as far as the

federal constitutional requirements of due process will permit,” federal courts sitting in

Texas need only consider the second step of the analysis.3

         The Fifth Amendment’s Due Process Clause permits a federal court to exercise

personal jurisdiction over a nonresident defendant if that defendant had “certain minimum

contacts with [the forum] such that the maintenance of the suit does not offend traditional

notions of fair play and substantial justice.”4




2 See Stripling v. Jordan Prod. Co., LLC, 234 F.3d 863, 869 (5th Cir. 2000).
3 BMC Software Belgium, N.V. v. Marchand, 83 S.W.3d 789, 795 (Tex. 2002) (quoting U-Anchor Advert., Inc. v.

Burt, 553 S.W.2d 760, 762 (Tex. 1977)); Pervasive Software Inc. v. Lexware GmbH & Co. KG, 688 F.3d 214, 220
(5th Cir. 2012).
4 Douglass v. Nippon Yusen Kabushiki Kaisha, 46 F.4th 226, 233, 235 (5th Cir. 2022).




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          The plaintiff bears the burden of establishing the district court’s jurisdiction over the

nonresident defendant.5 But when a court rules on the issue without a full evidentiary

hearing, a plaintiff need only make a prima facie showing. 6 And if the plaintiff does so, the

burden shifts to the nonresident defendant to prove that exercising personal jurisdiction

would offend traditional notions of fair play and substantial justice.7

II.       Motion to dismiss for failure to state a claim.

          Under Rule 12(b)(6) of Federal Rules of Civil Procedure, a court may dismiss a

complaint for “failure to state a claim upon which relief can be granted.” In deciding a

12(b)(6) motion, a “court accepts ‘all well-pleaded facts as true, viewing them in the light

most favorable to the plaintiff.’”8 “To survive a Rule 12(b)(6) motion to dismiss, a complaint

‘does not need detailed factual allegations,’ but must provide the plaintiff’s grounds for

entitlement to relief—including factual allegations that when assumed to be true ‘raise a right

to relief above the speculative level.’”9 In other words, “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” 10

          A claim has facial plausibility “when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.”11 “The tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause

5 Wilson v. Belin, 20 F.3d 644, 648 (5th Cir. 1994).
6 Id.
7 Id.
8 In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dallas

Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)).
9 Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)).
10 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).
11 Id.




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of action, supported by mere conclusory statements, do not suffice.” 12 A court ruling on a

12(b)(6) motion may rely on the complaint, its proper attachments, “documents

incorporated into the complaint by reference, and matters of which a court may take judicial

notice.”13 A court may also consider documents that a defendant attaches to a motion to

dismiss “if they are referred to in the plaintiff’s complaint and are central to her claim.” 14 But

because the court reviews only the well-pleaded facts in the complaint, it may not consider

new factual allegations made outside the complaint.15 “[A] motion to dismiss under 12(b)(6)

‘is viewed with disfavor and is rarely granted.’”16

                                                DISCUSSION

I.         Does this Court have personal jurisdiction over any of the Defendants?

           Starting with Defendants’ 12(b)(2) motion, personal jurisdiction comes in two types:

general and specific. General jurisdiction is not in dispute; the issues here revolve around

specific jurisdiction.17 Under the Fifth Circuit’s three-step inquiry, a court may exercise

specific jurisdiction over a nonresident defendant when:

              (1) the defendant “purposely directed its activities toward the forum state or
                  purposely availed itself of the privileges of conducting activities there”;

              (2) “the plaintiff's cause of action arises out of or results from the defendant's
                  forum-related contacts”; and




12 Id.
13 Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008) (citations and internal quotation marks

omitted).
14 Causey v. Sewell Cadillac-Chevrolet, Inc., 394 F.3d 285, 288 (5th Cir. 2004).
15 Dorsey, 540 F.3d at 338.
16 Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011) (quoting Harrington v. State Farm Fire & Cas. Co., 563

F.3d 141, 147 (5th Cir. 2009)).
17 It’s undisputed that all the moving Defendants are incorporated in, or residents of, other states.




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            (3) exercising personal jurisdiction over the defendant “is fair and reasonable.”18

        These three factors stem from a value that a nonresident defendant have “‘fair

warning’—knowledge that ‘a particular activity may subject [it] to the jurisdiction of a foreign

sovereign.’”19

        The Court’s first question then, is whether any of the Defendants “purposely directed

their activities toward the forum state or purposely availed themselves of the privileges of

conducting activities there.” In other words, could any of the Defendants have “‘reasonably

anticipate[ed] being haled into court’ in Texas” based on its actions.20

        Generally, this means a nonresident defendant’s direct, individual acts establish

specific jurisdiction. But when dealing with related entities—as Deaconess and LifeSpring

are alleged to be—a court can also establish specific jurisdiction through an alter-ego

theory.21 For example, a subsidiary’s activity can be imputed to a nonresident parent

company if the parent exercises sufficient control over the subsidiary’s operations. 22 Yet for

all Defendants, Plaintiffs’ evidence for the first step in the inquiry under either theory is

strikingly sparse.

        A. Plaintiffs do not make a prima facie showing that Deaconess purposefully
           directed its activities toward Texas.

        Starting first with Deaconess, Plaintiff claims this Court has personal jurisdiction over

this nonresident company because (1) Deaconess is Hands of Compassion’s parent

18 Stroman Realty, Inc. v. Wercinski, 513 F.3d 476, 484 (5th Cir. 2008) (using these three factors to establish

whether a defendant had the constitutionally required “minimum contacts” with the forum state).
19 Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1025 (2021) (quoting Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 472 (1985).
20 Id. (citing World–Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)).
21 See Dickson Marine Inc. v. Panalpina, Inc., 179 F.3d 331, 337–339 (5th Cir. 1999) (analyzing personal

jurisdiction over a nonresident company through direct acts and alter-ego theory).
22 Id.




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company, and (2) both companies share the same mailing address in Cincinnati, Ohio.23

That’s it; Plaintiffs provide no other evidence or even law to support their assertion that

those two facts mean anything.

         Plaintiff, in their legal research, should have uncovered the Fifth Circuit’s clear

admonition that “the mere existence of a parent-subsidiary relationship is not sufficient to

warrant the assertion of jurisdiction over the foreign parent.” 24 Indeed, “so long as a parent

and subsidiary maintain separate and distinct corporate entities, the presence of one in a

forum state may not be attributed to the other.”25 And Plaintiffs provide zero evidence

showing otherwise.26

         What’s more, the Court is unsure why evidence that a resident and nonresident

company share a mailing address—when that mailing address is in Ohio—provides any

support for personal jurisdiction in Texas. Plaintiffs again provide no legal support. And

without more evidence or any legal support, Plaintiffs fall far short of showing that

Deaconess “purposely directed its activities toward the forum state or purposely availed itself

of the privileges of conducting activities there.”27 Thus, Plaintiffs have not met their prima

facie burden, meaning this Court does not have personal jurisdiction over Deaconess.




23 Doc. 32 at 5.
24 Hargrave   v. Fibreboard Corp, 710 F.2d 1154, 1160 (5th Cir. 1983).
25 Id. at 1160.
26 It’s shocking Plaintiffs didn’t cite any law or even engage with the related entities test laid out by the Fifth

Circuit in Hargrave, especially because all that law was available in Defendants’ motion to dismiss. Plaintiffs
instead viewed Hargrave something necessary under a 12(b)(6) analysis. That is incorrect.
27 Stroman Realty, Inc. v. Wercinski, 513 F.3d 476, 484 (5th Cir. 2008)




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        B. Plaintiffs do not make a prima facie showing that LifeSpring purposefully
           directed its activities toward Texas.

        Moving next to LifeSpring, Plaintiffs fair only a little better. The same allegation that

LifeSpring is Hands of Compassion’s parent company is just as persuasive for the Court’s

personal jurisdiction analysis for LifeSpring as it is for Deaconess. Which is to say not at

all.28 Likewise, only facts alleged against LifeSpring specifically—not the collective

“Defendants” Plaintiffs use—can be used to establish personal jurisdiction.29

        Plaintiffs do, however, allege that LifeSpring’s name appears as “LifeSpring Home

Care” on Plaintiffs’ pay stubs, which they believe shows LifeSpring purposefully availing

itself to the privileges of conducting activities in Texas. 30 Plaintiffs cite the Fifth Circuit’s

opinion in Wien Air Alaska, Inc. v. Brandt to support that argument, quoting “‘[w]hen the

actual content of communications with a forum gives rise to intentional tort causes of action,

this alone constitutes purposeful availment.’”31

        The first problem is that having the name “LifeSpring Home Care” appear on a

paystub is not content that “gives rise to intentional tort causes of action.” Indeed, as the

Wien Air court makes clear, it is “the tortious nature of the directed activity [that] constitutes




28 See Hargrave, 710 F.2d at 1160 (“[T[he mere existence of a parent-subsidiary relationship is not sufficient to

warrant the assertion of jurisdiction over the foreign parent.”)
29 See Head v. Las Vegas Sands, Ltd. Liab. Corp., 760 Fed. Appx. 281, 284 (5th Cir. 2019) (per curiam)

(unpublished) (“Head's vague and generalized assertion that the Casino Defendants sent jets to Texas an
undetermined number of times to transport her husband to Las Vegas does not comport with applicable
caselaw that requires plaintiffs to submit evidence supporting personal jurisdiction over each defendant
without grouping them together.”) (citing Calder v. Jones, 465 U.S. 783, 790 (1984) (“Each defendant's contacts
with the forum State must be assessed individually.”)).
30 Doc. 32 at 6.
31 Id. (quoting Wien Air Alaska, Inc. v. Brandt, 195 F.3d 208, 213 (5th Cir. 1999)).




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purposeful availment,” thus giving rise to personal jurisdiction.32 And there’s no tortious

conduct alleged here.

           Yet the name “LifeSpring Home Care” does appear on Plaintiffs’ paystubs, and they

have alleged “LifeSpring Home Care” refers to LifeSpring. What’s more, showing related

entities failed to “maintain separate accounting systems” is one of the seven factors in

Hargrave’s personal jurisdiction test for related entities.33 But Plaintiffs fail to provide

evidence for any of the other factors.

           The lack of evidence for the other factors is debilitating to Plaintiffs’ prima facie case.

Indeed, Plaintiffs would not have to go far to see that more than a few (much less one) of

the Hargrave factors is necessary for personal jurisdiction because the reasoning from

Hargrave itself states that “100% stock ownership and commonality of officers and directors

are not alone sufficient to establish an alter ego relationship between two corporations.”34 So

if only meeting two factors is not enough, meeting just one is similarly lacking. Accordingly,

Plaintiffs have not met their prima facie burden in showing that this Court has personal

jurisdiction over LifeSpring.

           C. Plaintiffs do not make a prima facie showing that Vahlberg has
              purposefully directed her activities toward Texas.

           Lastly, for Vahlberg, Plaintiffs argue this Court can exercise personal jurisdiction over

her because she is the CEO of Hands of Compassion. 35 But simply being the CEO of a


32 Wien Air Alaska, Inc., 195 F.3d at 213.
33 Hargrave, 710 F.2d at 1160
34 Id.
35 Doc. 32 at 5–6. Plaintiffs’ other arguments—that Vahlberg is CEO of LifeSpring (who the Court doesn’t

have personal jurisdiction over) and that she shares a mailing address in Ohio with Deaconess, who shares
that address with Hands of Compassion—not backed by any new evidence or analysis on issues already
covered by the Court.


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Texas entity does not mean this Court has personal jurisdiction over Vahlberg, who even

Plaintiffs allege is domiciled in Oklahoma.36 Indeed, under the fiduciary-shield doctrine,

courts are prohibited “from exercising personal jurisdiction over an individual whose only

actions in the forum state were taken in the individual's capacity as a corporate

representative—even if the court has personal jurisdiction over the corporation itself.” 37

Only if a plaintiff alleges the corporate representative (1) individually participated in the

unlawful conduct and (2) had personal interest in the unlawful conduct can a court exercise

personal jurisdiction.38

        Here, Plaintiffs don’t allege any acts committed by Vahlberg, only that she apparently

“existed” in a CEO role. That’s clearly not enough; this Court can’t even analyze whether

Vahlberg potentially acted as a corporate representative or because Plaintiffs’ allegations are

so lackluster. Accordingly, Plaintiffs have not established a prima facie case for personal

jurisdiction over Vahlberg.

                                                CONCLUSION

        In short, Plaintiffs’ Amended Complaint and response to Defendants’ motion

provide nothing that even comes close to establishing a prima facie case of personal

jurisdiction over Deaconess, LifeSpring, and Vahlberg.




36 Doc. 17 at 4.
37 Greathouse v. Capital Plus Fin. LLC, No. 4:22-CV-0686-P, 2023 WL 5759250, *6 (N.D. Tex. Sept. 6, 2023)

citing Stuart v. Spademan, 772 F.2d 1185, 1197 (5th Cir. 1985)).
38 Id.




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        It is therefore ORDERED that Defendants’ Motion to Dismiss be GRANTED for

lack of personal jurisdiction and Plaintiffs’ claims against Defendants Deaconess Healthcare

Holdings, Inc., LifeSpring Home Care and Hospice, LLC, and Karen Vahlberg be

DISMISSED without prejudice.39 (Doc. 28).

        It is so ORDERED.

        SIGNED this 1st day of March, 2024.




                                                     DAVID COUNTS
                                                     UNITED STATES DISTRICT JUDGE




39 Because the Court lacks personal jurisdiction over the moving Defendants, it need not analyze whether

dismissal is also proper under Rule 12(b)(6).


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